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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

                          CASE NO. 21-14092-CIV-CANNON/Maynard


  JACEK KAZMIERCZAK,

          Plaintiff,

  v.

  FEDERAL BUREAU OF INVESTIGATIONS, et al.,

          Defendants.
                                                               /
                         ORDER ADOPTING MAGISTRATE JUDGE’S
                            REPORT AND RECOMMENDATION

          THIS CAUSE is before the Court upon Magistrate Judge Maynard’s Report and

  Recommendation (“Report”) [ECF No. 17], filed on April 20, 2021. In the Report, Judge Maynard

  recommends that this case be dismissed in its entirety because the allegations in Plaintiff’s Second

  Amended Complaint [ECF No. 11] “lack an arguable basis in law or fact” [ECF No. 17 p. 3].

  Plaintiff subsequently filed an Objection to the Report (“Objection”) [ECF No. 18] on May 5,

  2021.

          The Court has conducted a de novo review of the Report, Plaintiff’s Objection, the full

  record in this case, and is otherwise fully advised in the premises. See Williams v. McNeil, 557

  F.3d 1287, 1291 (11th Cir. 2009) (citing 28 U.S.C. § 636(b)(1)). Upon review of the foregoing

  materials, the Court finds the Report to be well-reasoned and correct. The Court therefore agrees

  with the analysis in the Report and concludes that the Second Amended Complaint [ECF No. 11]

  must be DISMISSED WITH PREJUDICE for the reasons set forth therein.
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                                                    CASE NO. 21-14092-CIV-CANNON/Maynard


         Accordingly, it is ORDERED and ADJUDGED as follows:

         1.     The Report [ECF No. 17] is ADOPTED;

         2.     The Second Amended Complaint [ECF No. 11] is DISMISSED WITH

                PREJUDICE; 1

         3.     All pending motions are DENIED AS MOOT; and

         4.     The Clerk of Court is directed to CLOSE this case.

         DONE AND ORDERED in Fort Pierce, Florida this 7th day of May 2021.




                                                        _________________________________
                                                        AILEEN M. CANNON
                                                        UNITED STATES DISTRICT JUDGE
  cc:    Jacek Kazmierczak, pro se
         9680 East Maiden Court
         Vero Beach, Florida 32963




  1
   Plaintiff filed his initial complaint in February 2021 [ECF No. 1], his Amended Complaint in
  March 2021 [ECF N. 5], and the instant Second Amended Complaint [ECF No. 11].
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